      Case 18-29709                Doc 10          Filed 10/26/18 Entered 10/26/18 23:24:53                           Desc Imaged
                                                   Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Romeo S Dumayas                                                   Social Security number or ITIN        xxx−xx−0510
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 10/23/18
Case number:          18−29709


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Romeo S Dumayas

2.      All other names used in the
        last 8 years

3.     Address                               9417 Margail Ave
                                             Des Plaines, IL 60016

4.     Debtor's attorney                     David H Cutler                                         Contact phone 847−673−8600
                                             Cutler & Associates, Ltd.                              Email: cutlerfilings@gmail.com
       Name and address                      4131 Main St.
                                             Skokie, IL 60076

5.     Bankruptcy trustee                    Steven R Radtke                                        Contact phone 312−346−1935
                                             Chill, Chill & Radtke PC                               Email: sradtke@chillchillradtke.com
       Name and address                      79 W Monroe Street Suite 1305
                                             Chicago, IL 60603
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
     Case 18-29709                    Doc 10      Filed 10/26/18 Entered 10/26/18 23:24:53                                  Desc Imaged
                                                  Certificate of Notice Page 2 of 4
Debtor Romeo S Dumayas                                                                                                     Case number 18−29709


6. Bankruptcy clerk's office                    Eastern Division                                             Hours open: 8:30 a.m. until 4:30
                                                219 S Dearborn                                               p.m. except Saturdays, Sundays
    Documents in this case may be filed at this 7th Floor                                                    and legal holidays.
    address. You may inspect all records filed Chicago, IL 60604
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 1−866−222−8029

                                                                                                             Date: 10/24/18

7. Meeting of creditors                          November 19, 2018 at 03:00 PM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              219 South Dearborn, Office of
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            the U.S. Trustee, 8th Floor, Room
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     800, Chicago, IL 60604
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 1/18/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
        Case 18-29709        Doc 10    Filed 10/26/18 Entered 10/26/18 23:24:53             Desc Imaged
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 18-29709-DLT
Romeo S Dumayas                                                                         Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: lmendoza               Page 1 of 2                   Date Rcvd: Oct 24, 2018
                               Form ID: 309A                Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 26, 2018.
db             +Romeo S Dumayas,    9417 Margail Ave,    Des Plaines, IL 60016-3810
27187175       +Citibank/RadioShack,    Centralized Bankruptcy,    Po Box 790034,    St Louis, MO 63179-0034
27187179       +D&A Services,    1400 E Touhy Ave, Ste G2,    Des Plaines, IL 60018-3338
27187183       +ICS Collection,    PO Box 1010,   Tinley Park, IL 60477-9110
27187185        Infibank,   No longer open as Infibank,     Omaha, NE 68103
27187187       +Lina T Dumayas,    9417 MArgail Ave,    Des Plaines, IL 60016-3810
27187188       +Mandarich Law Group,    420 N Wabash Ave, Ste 400,     Chicago, IL 60611-3542
27187189       +Midland Credit Management,    PO Box 51319,    Los Angeles, CA 90051-5619
27187190       +Mr. Cooper,   Attn: Bankruptcy,    8950 Cypress Waters Blvd,     Coppell, TX 75019-4620
27187193       +Paypal,   PO Box 105658,    Atlanta, GA 30348-5658
27187194       +Sunrise Credit Services,    PO Box 9100,    Farmingdale, NY 11735-9100
27187197       +Target,   Attn: Payment Disputes,     Mailstop 2201, PO Box 26907,    Tempe, AZ 85285-6907
27187198       +URO Partners,    3183 Paysphere Circle,    Chicago, IL 60674-0031
27187200       +Wheels Financial Group/dba Loan Mart,     Po Box 8075,    Van Nuys, CA 91409-8075

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cutlerfilings@gmail.com Oct 25 2018 01:58:45        David H Cutler,
                 Cutler & Associates, Ltd.,    4131 Main St.,    Skokie, IL 60076
tr             +EDI: QSRRADTKE.COM Oct 25 2018 05:28:00       Steven R Radtke,    Chill, Chill & Radtke PC,
                 79 W Monroe Street Suite 1305,     Chicago, IL 60603-4925
27187168        EDI: HNDA.COM Oct 25 2018 05:28:00       American Honda Finance,    Attn: Bankruptcy,
                 Po Box 168088,    Irving, TX 75016
27187170       +EDI: AMSHER.COM Oct 25 2018 05:28:00       AmSher Collection Srv,    4524 Southlake Parkway,
                 Ste 15,   Hoover, AL 35244-3271
27187171        EDI: BANKAMER.COM Oct 25 2018 05:28:00       Bank Of America,    Attn: Bankruptcy,    Po Box 982238,
                 El Paso, TX 79998
27187173       +E-mail/Text: bankruptcy@cavps.com Oct 25 2018 02:01:05        Cavalry Portfolio Services,
                 Attn: Bankruptcy Department,    500 Summit Lake Ste 400,     Valhalla, NY 10595-2322
27187174       +EDI: CHASE.COM Oct 25 2018 05:28:00       Chase Card Services,    Correspondence Dept,
                 Po Box 15298,   Wilmington, DE 19850-5298
27187176       +EDI: CITICORP.COM Oct 25 2018 05:28:00       Citibank/Sears,    Attn: Bankruptcy,    Po Box 6275,
                 Sioux Falls, SD 57117-6275
27187177       +EDI: WFNNB.COM Oct 25 2018 05:28:00       Comenity - HSN,    PO Box 659707,
                 San Antonio, TX 78265-9707
27187178        EDI: WFNNB.COM Oct 25 2018 05:28:00       Comenity Capital Bank/HSN,    Attn: Bankruptcy Dept,
                 Po Box 18215,   Columbus, OH 43218
27187180       +EDI: DISCOVER.COM Oct 25 2018 05:28:00       Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
27187181       +E-mail/Text: bknotice@ercbpo.com Oct 25 2018 02:00:44        ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,    Jacksonville, FL 32256-7412
27187182       +EDI: HFC.COM Oct 25 2018 05:28:00       HSBC Bank,   Attn: Bankruptcy,    Po Box 2013,
                 Buffalo, NY 14240-2013
27187184       +E-mail/Text: rev.bankruptcy@illinois.gov Oct 25 2018 02:00:24
                 Illinois Department of Revenue 1/15,     Bankruptcy Section,    PO Box 64338,
                 Chicago, IL 60664-0291
27187186        EDI: IRS.COM Oct 25 2018 05:28:00       Internal Revenue Service - 1/11,    PO Box 7346,
                 Philadelphia, PA 19101-7346
27187191       +EDI: AGFINANCE.COM Oct 25 2018 05:28:00       OneMain Financial,    Attn: Bankruptcy,
                 601 Nw 2nd Street,    Evansville, IN 47708-1013
27187192       +EDI: AGFINANCE.COM Oct 25 2018 05:28:00       OneMain Financial,    Attn: Bankruptcy,
                 Po Box 3251,   Evansville, IN 47731-3251
27187195       +EDI: RMSC.COM Oct 25 2018 05:28:00       Syncb/Care Credit,    Attn: Bankruptcy,   Po Box 965060,
                 Orlando, FL 32896-5060
27187196       +EDI: RMSC.COM Oct 25 2018 05:28:00       Synchrony Bank/Walmart,    Attn: Bankruptcy Dept,
                 Po Box 965060,    Orlando, FL 32896-5060
27187199        EDI: WFFC.COM Oct 25 2018 05:28:00       Wells Fargo Bank,    Attn: Bankruptcy Dept,    Po Box 6429,
                 Greenville, SC 29606
                                                                                               TOTAL: 20

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27187169*      ++AMERICAN HONDA FINANCE,    P O BOX 168088,   IRVING TX 75016-8088
                (address filed with court: American Honda Finance,     Attn: Bankruptcy,   Po Box 168088,
                  Irving, TX 75016)
27187172*      ++BANK OF AMERICA,    PO BOX 982238,   EL PASO TX 79998-2238
                (address filed with court: Bank Of America,     Attn: Bankruptcy,   Po Box 982238,
                  El Paso, TX 79998)
                                                                                              TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
          Case 18-29709            Doc 10       Filed 10/26/18 Entered 10/26/18 23:24:53                         Desc Imaged
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District/off: 0752-1                  User: lmendoza                     Page 2 of 2                          Date Rcvd: Oct 24, 2018
                                      Form ID: 309A                      Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 26, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 24, 2018 at the address(es) listed below:
              David H Cutler   on behalf of Debtor 1 Romeo S Dumayas cutlerfilings@gmail.com,
               r48280@notify.bestcase.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Steven R Radtke   sradtke@chillchillradtke.com, sradtke@ecf.epiqsystems.com
                                                                                            TOTAL: 3
